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                                           6   Attorneys for Defendant,
                                               PALMER ADMINISTRATIVE SERVICES, INC.,
                                           7   erroneously sued as Palmer Administrative Services
                                           8
                                                                   UNITED STATES DISTRICT COURT
                                           9
                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                          10
GORDON REES SCULLY MANSUKHANI, LLP




                                          11
                                               MICHAEL DELONG,                          CASE NO. 2:21-cv-06165-AB-PD
     633 West Fifth Street, 52nd Floor




                                          12
                                                                        Plaintiff,      Hon. Andre Birotte Jr.
         Los Angeles, CA 90071




                                          13                                            Hon. Patricia Donahue
                                                     vs.
                                          14                                            DEFENDANT PALMER
                                               ALLIED VEHICLE PROTECTION;               ADMINISTRATIVE SERVICES,
                                          15   PALMER ADMINISTRATIVE                    INC.’S ANSWER TO PLAINTIFF’S
                                               SERVICES; and PAYLINK DIRECT,            COMPLAINT
                                          16
                                                                        Defendants.     DEMAND FOR JURY TRIAL
                                          17
                                                                                        Complaint Filed: July 30, 2021
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                                          27
                                          28                                          -1-      Case No. 2:21-CV-06165-AB-PD
                                                DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                         AND DEMAND FOR JURY TRIAL
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                                           1         Defendant PALMER ADMINISTRATIVE SERVICES, INC. (“Palmer” or
                                           2   “Defendant”), by counsel, answers the Complaint filed by Plaintiff, MICHAEL
                                           3   DELONG (“Plaintiff”), specifically as follows:
                                           4                                   INTRODUCTION
                                           5         1.     Palmer admits that Plaintiff brings claims under the TCPA and Texas
                                           6   Business and Commercial Code, but denies that Plaintiff is entitled to any relief
                                           7   sought from it.
                                           8                            JURISDICTION AND VENUE
                                           9         2.     The allegations in Paragraph 2 call for legal conclusions to which no
                                          10   response is necessary. To the extent a response is required, those allegations are
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                                          11   admitted
     633 West Fifth Street, 52nd Floor




                                          12         3.     The allegations in Paragraph 3 call for legal conclusions to which no
         Los Angeles, CA 90071




                                          13   response is necessary. To the extent a response is required, those allegations are
                                          14   denied.
                                          15         4.     The allegations in Paragraph 4 calls for a legal conclusion to which no
                                          16   response is necessary. To the extent a response is required, those allegations are
                                          17   denied.
                                          18         5.     Admitted only that Palmer’s records indicate that Allied Vehicle
                                          19   Protection had an office in California, and that Palmer formerly had a contract with
                                          20   Allied Vehicle Protection.     Palmer denies that it at any point directed Allied
                                          21   Vehicle Protection to make calls on its behalf. The remaining allegations in
                                          22   Paragraph 5 call for legal conclusions to which no response is necessary. To the
                                          23   extent a response is required, those allegations are denied.
                                          24         6.     The allegations in Paragraph 6 calls for a legal conclusion to which no
                                          25   response is necessary. To the extent a response is required, those allegations are
                                          26   denied.
                                          27   ///
                                          28                                            -2-       Case No. 2:21-CV-06165-AB-PD
                                                DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                         AND DEMAND FOR JURY TRIAL
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                                           1                                         PARTIES
                                           2         7.      Palmer is without sufficient information to form a belief as to the truth
                                           3   of the allegations contained in Paragraph 7, and therefore denies them.
                                           4         8.      The allegations in Paragraph 8 calls for a legal conclusion to which no
                                           5   response is necessary. To the extent a response is required, those allegations are
                                           6   denied.
                                           7         9.      Admitted.
                                           8         10.     The allegations in Paragraph 10 calls for a legal conclusion to which
                                           9   no response is necessary. To the extent a response is required, those allegations
                                          10   are denied.
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                                          11         11.     Defendant admits that Palmer is a Delaware corporation with its
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                                          12   principal office and headquarters at the address listed in Ocean, New Jersey. The
         Los Angeles, CA 90071




                                          13   remaining allegations in Paragraph 11 call for legal conclusions to which no
                                          14   response is necessary. To the extent a response is required, the remaining
                                          15   allegations are denied.
                                          16         12.     Admitted.
                                          17         13.     The allegations in Paragraph 13 calls for a legal conclusion to which
                                          18   no response is necessary. To the extent a response is required, those allegations
                                          19   are denied.
                                          20         14.     Defendant denies that Palmer maintains offices in Illinois. The
                                          21   remaining allegations in Paragraph 14 call for legal conclusions to which no
                                          22   response is necessary. To the extent a response is required, the remaining
                                          23   allegations are denied.
                                          24         15.     Palmer admits that PayLink processes payments for certain
                                          25   automotive service contracts administered by Palmer. The remaining allegations in
                                          26   Paragraph 15 call for legal conclusions to which no response is necessary. To the
                                          27   extent a response is required, the remaining allegations are denied.
                                          28                                             -3-      Case No. 2:21-CV-06165-AB-PD
                                                DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                         AND DEMAND FOR JURY TRIAL
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                                           1         16.     The allegations in Paragraph 16 calls for a legal conclusion to which
                                           2   no response is necessary. To the extent a response is required, those allegations
                                           3   are denied.
                                           4         17.     The allegations in Paragraph 17 are too vague and unintelligible to
                                           5   provide a clear answer; Palmer admits that it has employees and officers and
                                           6   insurers, but the remaining allegations in this Paragraph call for legal conclusions
                                           7   to which no response is necessary. To the extent a response is required, those
                                           8   allegations are denied.
                                           9         18.     Denied.
                                          10                               FACTUAL ALLEGATIONS
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                                          11         19.     Palmer is without sufficient information to form a belief as to the truth
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                                          12   of the allegations contained in Paragraph 19, and therefore denies them.
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                                          13         20.     Palmer is without sufficient information to form a belief as to the truth
                                          14   of the allegations contained in Paragraph 20, and therefore denies them.
                                          15         21.     Palmer is without sufficient information to form a belief as to the truth
                                          16   of the allegations contained in Paragraph 21, and therefore denies them.
                                          17         22.     Admitted.
                                          18         23.     Admitted.
                                          19         24.     Palmer is without sufficient information to form a belief as to the truth
                                          20   of the allegations contained in Paragraph 24, and therefore denies them. To the
                                          21   extent the allegations in Paragraph 24 are directed at Palmer, Palmer further
                                          22   specifically denies that it made any solicitation calls to Plaintiff.
                                          23         25.     Palmer denies that it made any phone calls to Plaintiff of the type
                                          24   described in this Paragraph. The remaining allegations in Paragraph 25 call for
                                          25   legal conclusions to which no response is necessary. To the extent a response is
                                          26   required, those allegations are denied.
                                          27
                                          28                                              -4-       Case No. 2:21-CV-06165-AB-PD
                                                DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                         AND DEMAND FOR JURY TRIAL
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                                           1         26.   Palmer denies that Plaintiff did not consent to receive calls from
                                           2   Palmer; by purchasing a contract administered by Palmer, Plaintiff consented to
                                           3   receive Palmer’s calls at issue. Palmer is without sufficient information to form a
                                           4   belief as to the truth of the remaining allegations contained in Paragraph 26, and
                                           5   therefore denies them.
                                           6         27.   Palmer is without sufficient information to form a belief as to the truth
                                           7   of Plaintiff’s allegations in Paragraph 27 as to which Defendant Plaintiff alleges
                                           8   placed each call listed in this paragraph and whether Plaintiff received all of the
                                           9   calls alleged. Palmer admits only that it made the calls Plaintiff received from
                                          10   Caller IDs 732-918-9299, 877-466-3200, and 732-686-7221, and that all such calls
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                                          11   were customer service or collection calls due to Plaintiff’s purchase of a Palmer-
     633 West Fifth Street, 52nd Floor




                                          12   administered automotive service contract. Palmer denies making any solicitation
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                                          13   calls to Plaintiff and denies utilizing an automatic telephone dialing system to
                                          14   make any calls to Plaintiff. Each and every of Palmer’s calls to Plaintiff’s claimed
                                          15   telephone number were lawfully made. Any remaining allegations contained in
                                          16   this paragraph are denied.
                                          17         28.   Palmer is without sufficient information to form a belief as to the truth
                                          18   of the allegations contained in Paragraph 28, and therefore denies them.
                                          19         29.   Palmer is without sufficient information to form a belief as to the truth
                                          20   of the remaining allegations contained in Paragraph 29, and therefore denies them.
                                          21         30.   Palmer is without sufficient information to form a belief as to the truth
                                          22   of the allegations contained in Paragraph 30, and therefore denies them.
                                          23         31.   Palmer is without sufficient information to form a belief as to the truth
                                          24   of the allegations contained in Paragraph 31, and therefore denies them.
                                          25         32.   Palmer is without sufficient information to form a belief as to the truth
                                          26   of the allegations contained in Paragraph 32, and therefore denies them.
                                          27
                                          28                                           -5-      Case No. 2:21-CV-06165-AB-PD
                                                DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                         AND DEMAND FOR JURY TRIAL
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                                           1         33.    Palmer is without sufficient information to form a belief as to the truth
                                           2   of the allegations contained in Paragraph 33, and therefore denies them.
                                           3         34.    Palmer specifically denies that it placed any call to Plaintiff for the
                                           4   purpose of marketing or selling an automotive service contract to Plaintiff or
                                           5   directed or controlled any party that made such calls.           Palmer is without
                                           6   information to form a belief as to the truth of the remaining allegations in
                                           7   Paragraph 34, and therefore denies them.
                                           8         35.    Admitted that Plaintiff purchased a Palmer-administered product, the
                                           9   terms of which speak for themselves. Palmer is without sufficient information to
                                          10   form a belief as to the truth of the remaining allegations contained in Paragraph 35,
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                                          11   and therefore denies them.
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                                          12         36.    The allegation that “Defendants” collectively sent paperwork to
         Los Angeles, CA 90071




                                          13   Plaintiff calls for a legal conclusion to which no response is necessary. To the
                                          14   extent a response is required, denied.
                                          15         37.    Palmer is without sufficient information to form a belief as to the truth
                                          16   of the allegations contained in Paragraph 37, and therefore denies them.
                                          17   Furthermore, Palmer specifically denies that Plaintiff terminated the contract.
                                          18         38.    Admitted only that Defendant PayLink sent Plaintiff notice of
                                          19   cancellation due to non-payment on the Palmer automotive service contract he
                                          20   purchased. The remainder of the allegations contained in Paragraph 36 are denied.
                                          21         39.    Palmer admits only that it made calls to Plaintiff for the purpose of
                                          22   collecting payments due on the Palmer-administered product he purchased. The
                                          23   remaining allegations contained in Paragraph 39 call for legal conclusions to which
                                          24   no response is required. To the extent a response is required, those allegations are
                                          25   denied.
                                          26
                                          27
                                          28                                            -6-      Case No. 2:21-CV-06165-AB-PD
                                                DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                         AND DEMAND FOR JURY TRIAL
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                                           1         40.    The allegations in Paragraph 40 call for legal conclusions to which no
                                           2   response is necessary. To the extent a response is required, those allegations are
                                           3   denied.
                                           4         41.    Palmer is without sufficient information to form a belief as to the truth
                                           5   of the remainder of allegations in Paragraph 41, and therefore denies them.
                                           6         42.    Palmer is without sufficient information to form a belief as to the truth
                                           7   of the allegations contained in Paragraph 42, and therefore denies them.
                                           8         43.    Palmer admits only that it made legal, non-solicitation calls to
                                           9   Plaintiff and did not make any calls using an automatic telephone dialing
                                          10   system. Palmer is without sufficient information to form a belief as to the truth of
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                                          11   the remaining allegations in Paragraph 43, and therefore denies them.
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                                          12         44.    Palmer admits only that it made legal, non-solicitation calls to
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                                          13   Plaintiff and did not make any calls using an automatic telephone dialing
                                          14   system. Palmer is without sufficient information to form a belief as to the truth of
                                          15   the remaining allegations in Paragraph 44, and therefore denies them.
                                          16         45.    Palmer is without sufficient information to form a belief as to the
                                          17   truth of the allegations contained in Paragraph 45, and therefore denies them.
                                          18         46.    The allegations in Paragraph 46 call for legal conclusions to which no
                                          19   response is necessary. To the extent a response is required, those allegations are
                                          20   denied.
                                          21         47.    The allegations in Paragraph 47 call for legal conclusions to which no
                                          22   response is necessary. To the extent a response is required, those allegations are
                                          23   denied.
                                          24         48.    Paragraph 48 contains no allegations that require a response. To the
                                          25   extent a response is required, the cited Declaratory Ruling speaks for itself, and
                                          26   anything to the contrary is denied.
                                          27
                                          28                                            -7-      Case No. 2:21-CV-06165-AB-PD
                                                DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                         AND DEMAND FOR JURY TRIAL
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                                           1         49.    Paragraph 49 contains no allegations that require a response. To the
                                           2   extent a response is required, the cited Declaratory Ruling speaks for itself, and
                                           3   anything to the contrary is denied.
                                           4         50.    Paragraph 50 contains no allegations that require a response. To the
                                           5   extent a response is required, the cited Declaratory Ruling speaks for itself, and
                                           6   anything to the contrary is denied.
                                           7         51.    The allegations in Paragraph 51 call for legal conclusions to which no
                                           8   response is necessary. To the extent a response is required, those allegations are
                                           9   denied.
                                          10         52.    The allegations in Paragraph 52 call for legal conclusions to which no
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                                          11   response is necessary. To the extent a response is required, those allegations are
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                                          12   denied.
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                                          13         53.    The allegations in Paragraph 53 call for legal conclusions to which no
                                          14   response is necessary. To the extent a response is required, those allegations are
                                          15   denied.
                                          16         54.    The allegations in Paragraph 54 call for legal conclusions to which no
                                          17   response is necessary. To the extent a response is required, those allegations are
                                          18   denied.
                                          19         55.    The allegations in Paragraph 55 call for legal conclusions to which no
                                          20   response is necessary. To the extent a response is required, those allegations are
                                          21   denied.
                                          22                                         COUNT I
                                          23         56.    Palmer incorporates its responses to paragraphs 1-55 above as if fully
                                          24   set forth herein.
                                          25         57.    This paragraph contains no allegations that require a response. To the
                                          26   extent a response is required, the TCPA speaks for itself, and anything to the
                                          27   contrary is denied.
                                          28                                           -8-      Case No. 2:21-CV-06165-AB-PD
                                                DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                         AND DEMAND FOR JURY TRIAL
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                                           1         58.    Palmer denies that it placed calls to Plaintiff which utilized an
                                           2   automatically generated or pre-recorded voice.         Palmer is without sufficient
                                           3   information to form a belief as to the truth of the remaining allegations contained
                                           4   in Paragraph 58, and therefore denies them.
                                           5         59.    Admitted that Palmer stores its customers’ telephone numbers in the
                                           6   ordinary course of business as an administrator of automobile service contracts,
                                           7   which includes making calls to communicate with customers and collection of
                                           8   amounts owed pursuant to automobile service contracts.
                                           9         60.    Denied.
                                          10         61.    Palmer utilizes communications services to contact customers in its
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                                          11   role as an administrator of automobile service. Palmer denies that it makes any
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                                          12   solicitation calls or utilizes an automatic telephone dialing system.
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                                          13         62.    Denied.
                                          14         63.    Denied.
                                          15         64.    Palmer is without sufficient information to form a belief as to the truth
                                          16   of the allegations contained in Paragraph 64, and therefore denies them.
                                          17         65.    Palmer admits only that it made legal, non-solicitation calls to
                                          18   Plaintiff and did not make any calls using an automatic telephone dialing
                                          19   system. Palmer is without sufficient information to form a belief as to the truth of
                                          20   the remainder of allegations in Paragraph 65, and therefore denies them.
                                          21         66.    Palmer admits only that it made legal, non-solicitation calls to
                                          22   Plaintiff and did not make any calls using an automatic telephone dialing
                                          23   system. Palmer is without sufficient information to form a belief as to the truth of
                                          24   the remainder of allegations in Paragraph 66, and therefore denies them.
                                          25         67.    Palmer admits only that it made legal, non-solicitation calls to
                                          26   Plaintiff and did not make any calls using an automatic telephone dialing
                                          27
                                          28                                            -9-       Case No. 2:21-CV-06165-AB-PD
                                                DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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                                          1   system. Palmer is without sufficient information to form a belief as to the truth of
                                          2   the remainder of allegations in Paragraph 67, and therefore denies them.
                                          3         68.    Palmer is without sufficient information to form a belief as to the truth
                                          4   of the allegations contained in Paragraph 68, and therefore denies them.
                                          5         69.    The allegations in Paragraph 69 call for legal conclusions to which no
                                          6   response is necessary. To the extent a response is required, those allegations are
                                          7   denied.
                                          8         70.    The allegations in Paragraph 70 call for legal conclusions to which no
                                          9   response is necessary. To the extent a response is required, those allegations are
                                         10   denied.
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                                         11         71.    The allegations in Paragraph 71 call for legal conclusions to which no
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                                         12   response is necessary. To the extent a response is required, those allegations are
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                                         13   denied.
                                         14                                       COUNT II
                                         15         72.    Palmer incorporates its responses to paragraphs 1-71 above as if fully
                                         16   set forth herein.
                                         17         73.    This paragraph contains no allegations that require a response. To the
                                         18   extent a response is required, the TCPA speaks for itself, and anything to the
                                         19   contrary is denied.
                                         20         74.    Palmer admits only that it made legal, non-solicitation calls to
                                         21   Plaintiff and did not make any calls using an automatic telephone dialing
                                         22   system. Palmer is without sufficient information to form a belief as to the truth of
                                         23   the remainder of allegations in Paragraph 74, and therefore denies them.
                                         24         75.    The allegations in Paragraph 75 call for legal conclusions to which no
                                         25   response is necessary. To the extent a response is required, those allegations are
                                         26   denied.
                                         27
                                         28                                           -10-      Case No. 2:21-CV-06165-AB-PD
                                               DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                        AND DEMAND FOR JURY TRIAL
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                                          1         76.     The allegations in Paragraph 76 call for legal conclusions to which no
                                          2   response is necessary. To the extent a response is required, those allegations are
                                          3   denied.
                                          4         77.     The allegations in Paragraph 77 call for legal conclusions to which no
                                          5   response is necessary. To the extent a response is required, those allegations are
                                          6   denied.
                                          7                                        COUNT III
                                          8         78.     Palmer incorporates its responses to paragraphs 1-77 above as if fully
                                          9   set forth herein.
                                         10         79.     The allegations in Paragraph 79 calls for a legal conclusion to which
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                                         11   no response is necessary. To the extent a response is required, those allegations
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                                         12   are denied.
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                                         13         80.     The allegations in Paragraph 80 call for legal conclusions to which no
                                         14   response is necessary. To the extent a response is required, those allegations are
                                         15   denied.
                                         16         81.     This paragraph contains no allegations that require a response. To the
                                         17   extent a response is required, the cited portion of the Texas Business & Commerce
                                         18   Code speaks for itself, and anything to the contrary is denied.
                                         19         82.     The allegations in Paragraph 82 call for legal conclusions to which no
                                         20   response is necessary. To the extent a response is required, those allegations are
                                         21   denied.
                                         22         83.     This paragraph contains no allegations that require a response. To the
                                         23   extent a response is required, the cited portion of the Texas Business & Commerce
                                         24   Code speaks for itself, and anything to the contrary is denied. Defendant further
                                         25   denies that Plaintiff has standing to bring claims under the cited statute, which does
                                         26   not provide a private right of action.
                                         27   ///
                                         28                                            -11-      Case No. 2:21-CV-06165-AB-PD
                                               DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                        AND DEMAND FOR JURY TRIAL
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                                          1                                         COUNT IV
                                          2         84.    Palmer incorporates its responses to paragraphs 1-83 above as if fully
                                          3   set forth herein.
                                          4         85.    The allegations in Paragraph 85 call for legal conclusions to which no
                                          5   response is necessary. To the extent a response is required, those allegations are
                                          6   denied.
                                          7         86.    The allegations in Paragraph 86 call for legal conclusions to which no
                                          8   response is necessary. To the extent a response is required, those allegations are
                                          9   denied.
                                         10         87.    This paragraph contains no allegations that require a response. To the
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                                         11   extent a response is required, the cited portion of the Texas Business & Commerce
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                                         12   Code speaks for itself, and anything to the contrary is denied.
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                                         13         88.    The allegations in Paragraph 88 call for legal conclusions to which no
                                         14   response is necessary. To the extent a response is required, those allegations are
                                         15   denied.
                                         16         89.    This paragraph contains no allegations that require a response. To the
                                         17   extent a response is required, the cited portion of the Texas Business & Commerce
                                         18   Code speaks for itself, and anything to the contrary is denied. Defendant further
                                         19   denies that Plaintiff has standing to bring claims under the cited statute, which does
                                         20   not provide a private right of action.
                                         21                                 PRAYER FOR RELIEF
                                         22         This section does not contain any factual allegations requiring a response
                                         23   from Palmer, but if a response is deemed required, Palmer denies that Plaintiff is
                                         24   entitled to any relief from Palmer.
                                         25                       SEPARATE AND AFFIRMATIVE DEFENSES

                                         26         Based upon its current information and belief, Palmer asserts the following
                                         27   affirmative defenses to Plaintiff’s Complaint, and reserve the right to assert
                                         28                                            -12-      Case No. 2:21-CV-06165-AB-PD
                                               DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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                                          1   additional affirmative defenses in the event its investigation or discovery indicate
                                          2   that they would be appropriate. By asserting these defenses here, Palmer does not
                                          3   concede that they have the burden of proof or production for any of the following:
                                          4         1.      Plaintiff lacks Article III standing because he has incurred no injury or
                                          5   actual harm or damages. See, e.g., Salcedo v. Hanna, 936 F.3d 1162, 1172 (11th
                                          6   Cir. 2019).
                                          7         2.      Plaintiff fails to state a claim against Defendant upon which relief can
                                          8   be granted because, among other reasons, on information and belief, the calling
                                          9   party was given prior express consent to call the Plaintiff’s number at issue, and
                                         10   Plaintiff never revoked that consent before filing his Complaint. See, e.g., Tyler v.
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                                         11   Mirand Response Sys., Inc., CIVIL ACTION NO. H-18-1095, 2019 U.S. Dist.
     633 West Fifth Street, 52nd Floor




                                         12   LEXIS 81808, at *10 (S.D. Tex. May 15, 2019) (granting judgment in favor of the
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                                         13   defendant where calls made with prior express consent and Plaintiff failed to prove
                                         14   revocation or use of an ATDS).
                                         15         3.      The claims and theories of liability alleged in the Complaint are
                                         16   barred by the applicable statute of limitations, statutes of repose, laches, and
                                         17   judicial and equitable estoppel. Due to Plaintiff’s dilatory delays in bringing this
                                         18   action, and prior conflicting positions, the Court should deny all relief requested
                                         19   both in law and equity.
                                         20         4.      Although Palmer specifically denies it has any liability with respect to
                                         21   Plaintiff’s claims and allegations, Palmer asserts that it has not willfully violated
                                         22   any statute and any violation(s) that may have occurred were unintentional.
                                         23         5.      Plaintiff failed to mitigate his damages, including but not limited to
                                         24   exhausting all self-help actions to eliminate unwanted calls or attempts at
                                         25   communication.
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                                         28                                            -13-      Case No. 2:21-CV-06165-AB-PD
                                              DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                                                       AND DEMAND FOR JURY TRIAL
                                   Case 2:21-cv-06165-AB-PD Document 27 Filed 10/04/21 Page 14 of 15 Page ID #:97



                                          1         6.     Any alleged damages suffered by Plaintiff resulted from the acts or
                                          2   omissions of third parties who were not agents of Palmer, over whom Palmer
                                          3   exercised no control or authority and for whose conduct Palmer is not responsible.
                                          4         7.     The claims against Palmer are misjoined and therefore Palmer should
                                          5   be dismissed and/or the claims against Palmer severed.
                                          6         8.     Plaintiff’s claims are barred insofar as an applicable established
                                          7   business relationship authorized the calls at issue pursuant to 47 C.F.R. §
                                          8   64.1200(f)(5). See, e.g., Leyse v. Bank of Am., Nat’l Ass’n, Civil Action No. 11-
                                          9   7128 (SDW) (SCM), 2020 U.S. Dist. LEXIS 44234, at *13 (D.N.J. Mar. 13, 2020).
                                         10         9.     Plaintiff’s claims are barred in whole or in part due to the doctrine of
GORDON REES SCULLY MANSUKHANI, LLP




                                         11   unclean hands, as Plaintiff posed as an interested customer in order to instigate a
     633 West Fifth Street, 52nd Floor




                                         12   TCPA suit against Defendant. See Johansen v. Nat’l Gas & Elec. LLC, Case No.
         Los Angeles, CA 90071




                                         13   2:17-cv-587, 2017 U.S. Dist. LEXIS 208878, at *8 (S.D. Ohio Dec. 20, 2017).
                                         14         10.    Plaintiff’s claims are barred in whole or in part for failure by Plaintiff
                                         15   to exhaust his administrative remedies, including but not limited to filing
                                         16   complaints with his carrier or appropriate authorities regarding the conduct alleged.
                                         17                             RESERVATION OF RIGHTS
                                         18         Palmer reserves the right to amend this Answer and/or to assert additional
                                         19   defenses and/or supplement, alter, or change any of the responses set forth in this
                                         20   Answer in any manner upon further investigation and/or discovery.
                                         21                   CONCLUSION AND REQUEST FOR RELIEF
                                         22         WHEREFORE, Palmer prays that the Complaint be dismissed with
                                         23   prejudice, with Palmer being awarded all costs of suit, including attorney’s fees, as
                                         24   they may be payable pursuant to applicable law.
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                                         28                                            -14-      Case No. 2:21-CV-06165-AB-PD
                                              DEFENDANT PALMER ADMINISTRATIVE SERVICES, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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                                          1                           DEMAND FOR JURY TRIAL
                                          2        Defendant concurrently demands a trial by jury for all claims so triable.
                                          3   DATED: October 4, 2021         Respectfully Submitted,
                                          4                                  GORDON REES SCULLY MANSUKHANI, LLP
                                          5
                                                                             By: s/ Sean P. Flynn
                                          6                                      Sean P. Flynn, Esq.
                                                                                 Attorney for Defendant
                                          7                                      Palmer Administrative
                                                                                 Services, Inc.
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     633 West Fifth Street, 52nd Floor




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         Los Angeles, CA 90071




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